AO 466A S (Rev. 07/16) Waiver of Rule 5 & 5.1 Hearings (Complaint or Indictment) (Translation 03/17) Page 2
AO 466A S (Rev. 07/16) Renuncia a las Audiencias que Disponen las Reglas 5 y 5.1 (Denuncia o Acusacién del Gran Jurado) (Tradwecion de 03/17) Pagina 2

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(4) a preliminary hearing to determine whether there is probable cause to believe that an offense has been
committed, to be held within 14 days of my first appearance if | am in custody and 21 days otherwise,
unless I have been indicted beforehand.
tener una audiencia preliminar para determinar si existe causa probable para creer que se ha
cometido un delito; la audiencia se celebraria dentro de un lapso no mayor de 14 dias a partir de mi
primera comparecencia si estoy detenido y 21 dias si no, a menos que el gran jurado me haya
formulado cargos de antemano.

(¥, a hearing on any motion by the government for detention;
tener una audiencia si la fiscalia solicita que me dejen detenido;

(6) request a transfer of the proceedings to this district under Fed. R. Crim. P. 20, to plead guilty.
solicitar el traslado de los procedimientos a este distrito conforme a la regla 20 del Reglamento
Federal de Procedimiento Penal para declararme culpable.

I agree to waive my right(s) to:
Acepto reftunciar a mi(s) derecho(s) a una:

 

( an identity hearing, production of the judgment, warrant, and warrant application, and any preliminary or
detention hearing to which I may be entitled in this district. I request that any preliminary or detention hearing be
held in the prosecuting district, at a time set by that court.
audiencia de identidad, a que se me presente la sentencia, orden y solicitud de dicha orden, asi como a cualquier
audiencia preliminar o de detencion a la cual pueda tener derecho en este distrito. Solicito que toda audiencia
preliminar o de detencién se celebre en el distrito donde se procesa la causa en el momento que dicho tribunal

senale.

I consent to the issuance of an order requiring my appearance in the prosecuting district where the

charges are pending against me.
Doy mi consentimiento para que se emita una orden en la que se me requiera comparecer en el distrito

donde se procesa la causa y donde estan pendientes los cargos contra mi.

Date: 2AZ20 (022
Fecha:

 

 

 

fer Signature of defendant’s attorney
OP] del yee
Cc by L NY 0
7 Printed name of defendant’s attorney
Nombre del abogado defensor en letra de molde

 

documen jally approved by the Administrative Office or the Judicial Conference of the United States.
Este ete no ee Seba por la Oficina Administrativa ni por la Conferencia Judicial de los Estados Unidos.

 
